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                               EXHIBIT J


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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       Distortion of Justice: How the Inability to Pay Bail
                      Affects Case Outcomes
                                        Megan Stevenson∗†
                                         January 8, 2017


                                               Abstract
             This paper uses a natural experiment to analyze whether incarceration during the
        pretrial period affects case outcomes. In Philadelphia, defendants randomly receive bail
        magistrates who differ widely in their propensity to set bail at affordable levels. Using
        magistrate leniency as an instrument, I find that pretrial detention leads to a 13%
        increase in the likelihood of being convicted, an effect largely explained by an increase
        in guilty pleas among defendants who otherwise would have been acquitted or had
        their charges dropped. Pretrial detention also leads to a 41% increase in the amount of
        non-bail court fees owed and a 42% increase in the length of the incarceration sentence.
        I find large gaps in the pretrial detention rate across the race and neighborhood wealth
        levels of defendants, partially accounted for by differences in the likelihood of posting
        monetary bail. If black defendants posted bail at the same rate as non-black defendants,
        their average detention rate would decrease by 6 percentage points, or half of the entire
        race gap in detention.




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                 I have had the ‘you can wait it out or take the deal and get out’ conver-
             sation with way too many clients. -a public defender, Philadelphia


       1     Introduction
           There are currently 467,000 people awaiting trial in jail in the United States (Minton
       and Zeng, 2015). In fact, there are more people in jail awaiting trial than are incarcer-
       ated due to a drug sentence.1 This number is particularly striking considering that our
       criminal justice system is founded on a presumption of innocence, where, at least in
       theory, “liberty is the norm, and detention prior to trial or without trial is the carefully
       limited exception.”2
           According to Bureau of Justice Statistics, five out of six people detained before trial
       on a felony charge are held on money bail (Cohen and Reaves, 2007). Some of these
       defendants are facing very serious charges, and accordingly have very high bail. But
       many have bail set at amounts that would be affordable for the middle or upper-middle
       class but are simply beyond the reach of the poor. In Philadelphia, the site of this
       study, more than half of pretrial detainees would be able to secure their release by
       paying a deposit of $1000 or less, most of which would be reimbursed if they appear at
       all court dates. Many defendants remain incarcerated even at extremely low amounts
       of bail, where the deposit necessary to secure release is only $50 or $100. Nor are the
       charges faced by many pretrial detainees particularly serious: 60% of those held for
       more than three days were charged with non-violent crimes and 28% were charged only
       with a misdemeanor.
           It has long been postulated that pretrial detention increases the likelihood of con-
       viction and the severity of sentences. A defendant may plead guilty to get out of jail,
       or accept an overly punitive plea deal because detention impaired her ability to gather
       evidence or meet with her lawyer. Adjustment to life in jail, combined with the po-
       tential loss of employment or housing, may reduce a defendant’s incentives to fight the
       charges. While prior research has shown a correlation between pretrial detention and
       unfavorable case outcomes, it did not show that the relationship was causal.3 Those
       detained differ from those released in ways that are both observable and unobservable
       to the researcher; detainees tend to be facing more serious charges and have longer
       criminal histories, and they may also have stronger evidence against them. They are
       expected to have worse case outcomes regardless of detention status. Isolating the

   1
     The number of state and federal prisoners whose most serious offense was drug-related is found in
Minton and Zeng (2015). The most recent information on the percentage of convicted jail inmates with a
drug sentence is from James (2004).
   2
     Chief Justice Rehnquist in United States v. Salerno, 1987
   3
     See Ares et al. (1963); Rankin (1964); Goldkamp (1980); Williams (2003); Phillips (2007, 2008); Tartaro
and Sedelmaier (2009); Sacks and Ackerman (2012); Lowenkamp et al. (2013); Oleson et al. (2014)


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       causal effect of pretrial detention requires an experimental research design.4
          In this paper I present some of the first quasi-experimental evidence that pretrial
       detention increases the likelihood of being convicted, pleading guilty, receiving lengthy
       incarceration sentences, and being required to pay hundreds of dollars in court fees.
       The research design takes advantage of the fact that defendants randomly receive bail
       magistrates who vary widely in their propensity to set bail at affordable levels. Those
       who receive a strict magistrate are statistically identical to those who receive a more
       lenient magistrate except in their likelihood of being detained pretrial. If those who
       receive a strict magistrate are also more likely to be convicted or receive unfavorable
       sentences we can infer that this is due to differences in detention rates and not some
       other unseen difference in defendant or case characteristics.
          The data used in this analysis covers all criminal cases originated in Philadelphia
       between September 2006 and February 2013, with a total sample size of 331,971 cases.
       The rotating work schedule of the bail magistrates creates random variation in which
       magistrate is on duty; each magistrate works an equal number of night shifts, weekend
       shifts, etc. The duties of the bail magistrate are very limited and there are few plausible
       alternative channels through which they could affect case outcomes. After the bail
       hearing, the magistrates do not interact with the defendant or make any other decisions
       related to her case, nor does the schedule of the magistrates align with that of the judges
       or any other actors in the criminal justice proceedings. The institutional features of
       Philadelphia’s pretrial process provide a particularly clean natural experiment with
       which to estimate the impacts of pretrial detention.
          For each defendant, I build an instrument for pretrial detention that consists of the
       average detention rates of other defendants who had bail set by the same magistrate.
       Using this measure of magistrate leniency as an instrument, I estimate that pretrial
       detention leads to a 6.2 percentage point increase in the likelihood of being convicted on
       at least one charge, over a mean 49% conviction rate. The effect on conviction (being
       found guilty either through plea or at trial) is largely explained by a 4.7 percentage
       point increase in the likelihood of pleading guilty among those who would otherwise
       have been acquitted, diverted, or had their charges dropped. Those detained will be
       liable for $129 more in non-bail court fees (a 41% increase over the mean), and will be
       sentenced to an additional 124 days of incarceration (a 42% increase over the mean).
          The adverse effect that pretrial detention has on case outcomes deepens concerns
       about socio-economic disparities in pretrial detention, particularly since detention sta-


   4
      Ares et al. (1963) used an experimental method to look at the impact of pretrial detention on case
outcomes but did not present the results in a manner that allows for causal interpretation. Goldkamp (1980)
and Abrams and Rohlfs (2011) used a randomized experiment to look at how the bail amount affects crime,
flight, and the likelihood of posting bail, but did not evaluate the impacts on case outcomes.


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        tus depends partly on the ability to post bail.5 I find that black defendants are 40%
        more likely to be detained than non-black defendants, and defendants from low-income
        neighborhoods are 17% more likely to be detained than those from wealthier neigh-
        borhoods. Part of this gap is due to differences in the charges the groups are facing,
        and therefore differences in the amount of bail set. Another part is due to the fact
        that black defendants and those from low-income neighborhoods are less likely to post
        a given amount of bail. For example, only 46% of black defendants with bail set at
        $5000 post bail within three days, compared to 56% of non-black defendants. I find
        that if black defendants posted bail at the same rate as non-blacks, and those from
        low-income neighborhoods posted bail at the same rates as those from wealthier neigh-
        borhoods, the gaps in detention rates would be cut in half. Median income for black
        households is less than 2/3 that of white households in Philadelphia (Ingram, 2007).
        The lower rates of posting bail for black defendants and those from poor neighborhoods
        is likely to be at least partially explained by differences in wealth, income and access
        to credit.
           The results of this paper speak to several important legal and policy issues. First,
        the downstream criminal justice consequences of pretrial detention underline the im-
        portance of making sure that defendants aren’t being detained just because they are
        poor. This could be achieved by reducing the use of money bail, or implementing proce-
        dures to ensure that the bail amount is proportional to defendants’ financial resources.6
        Risk assessment tools can be helpful in determining which defendants can be released
        under minimal conditions.7 Second, the results of this paper bolster the argument that
        the bail hearing is a ‘critical stage’. Since defendants have a constitutional right to
        counsel at all ‘critical stages’ in a criminal proceeding, this would suggest that defen-
        dants should have the right to counsel at bail hearings. More generally, this research
        shows that the bail hearing is important, since the decisions made at the bail hearing
        have serious downstream consequences. Currently, bail hearings in Philadelphia – as
        in many jurisdictions – last only about a minute, occur over videoconference, and do
        not include legal representation for the defendants. Taking more time and care dur-
        ing the bail hearing, including providing increased training and guidance to the bail
        magistrates, would likely improve the decisions made at this important juncture.

    5
      A literature review of racial disparities in bail finds mixed results (Free, 2004). One interesting prior
paper shows that bail bondsmen charge lower rates for blacks than whites, suggesting that blacks pose a
lower risk than whites at the same bail amount (Ayres and Waldfogel, 1994).
    6
      A group of civil rights lawsuits have recently argued that bail which does not take ability to pay into
account is in violation of Equal Protection and due process. Citing a series of Supreme Court rulings in the
wake of Griffin v. Illinois (1956), these cases have had initial success in the district courts. See Section 8 for
more details.
    7
      Caution is warranted, however, since risk assessment tools that include race and income proxies, like
zip code, may perpetuate socio-economic disparities in detention.


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           In the months since this paper was first circulated, several other papers, devel-
       oped in parallel and also evaluating the impact that pretrial detention has on case
       outcomes, have been released. Gupta et al. (2016), Heaton et al. (2016), Dobbie et
       al. (2016) and Leslie and Pope (2016) have shown that pretrial detention is associated
       with unfavorable case outcomes in New York City, Houston, Miami, Philadelphia, and
       Pittsburg. My paper differs from each in various ways; one difference is the focus on
       the socio-economic disparities induced by money bail.
           In Section 2 I give a brief overview of the pretrial process, in Section 3 I describe
       the natural experiment, and in Section 4 I discuss the data and provide descriptive
       statistics and graphs. Section 5 discusses the empirical strategy and provides evidence
       that magistrate assignment is as-good-as-random. Section 6 presents the results for
       the full sample and provides several robustness checks. Section 7 shows results for
       various subgroups. Section 8 analyzes socio-economic disparities in detention rates
       and discusses some of the implication of the results. Section 9 concludes.



       2     The pretrial process
           Pretrial detention is the act of keeping a defendant confined during the period be-
       tween arrest and disposition for the purposes of ensuring their appearance in court
       and/or preventing them from committing another crime. The vast majority of juris-
       dictions use a money bail system to govern whether or not a defendant is detained
       (PJI, 2009). In such a system a judge or a magistrate determines the amount of the
       bail required for release and the defendant is only released if she pays that amount and
       agrees to certain behavioral conditions. In some cases the defendant will be released
       without having to pay anything, in others (usually only the most serious cases) she
       will be denied bail and must remain detained. While the defendant is liable for the
       full amount of the bail bond if she fails to appear at court or commits another crime
       during the pretrial period, she usually does not need to pay the full amount in order to
       secure release. In many jurisdictions she will borrow this sum from a bail bondsman,
       who charges a fee and holds cash or valuables as collateral (Cohen and Reaves, 2007).
       In some jurisdictions, Philadelphia included, the courts act as a bail bondsman and
       will release the defendant after the payment of a deposit.
           Bail hearings are generally quite brief – in Philadelphia most last only a minute
       or two – and often do not have any lawyers present.8 After the bail hearing there
       are a series of pretrial court appearances that defendants must attend. Although the
   8
     PJI (2009) shows 40% of respondent districts do not have defense attorneys at bail hearings. While there
is no systematic survey of the length of bail hearing, they are reported to be very short in many jurisdictions:
three minutes long in North Dakota (VandeWalle, 2013), less than two minutes in Cook County (Staff, 2016)
and only a couple minutes long in Harris County (Heaton et al., 2016).


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       exact procedure varies across jurisdictions these usually include at least an arraign-
       ment (where formal charges are filed) and some sort of preliminary hearing or pretrial
       conference (where the case is discussed and plea deals can be negotiated). Plea bar-
       gaining usually begins around the time of arraignment and can continue throughout
       the criminal proceedings. In some jurisdictions, like New York City, the arraignment
       happens simultaneous to the bail hearing and it is not uncommon to strike a plea deal
       at this first appearance (Barry et al., 2012). In other jurisdictions, such as New Or-
       leans, arraignments for felony defendants often do not happen until four months after
       the bail hearing and a defendant who is unable to make bail must wait until then to
       file a plea.9 In Philadelphia, arraignments usually happen within a month of the bail
       hearing.
          Plea negotiation is a process in which the defendant receives reduced charges or
       shorter sentences in return for pleading guilty and waiving her right to a trial. Since
       defendants often face severe sentences if found guilty at trial, the incentives to plead
       are strong. It is estimated that 90-95% of felony convictions are reached through a
       plea deal (Devers, 2011). Philadelphia differs from many other jurisdictions in its
       wide use of bench trials on felony cases. Since sentencing tends to be more lenient in
       bench trials than jury trials, this reduces the incentive to plead guilty.10 Only about
       78% of felony convictions are reached through plea in Philadelphia. Trial by jury is not
       constitutionally required if the maximum incarceration sentence is less than six months,
       and the use of bench trials for misdemeanors, as is the custom in Philadelphia, is more
       common across jurisdictions.
          There are a number of reasons why a detained defendant might be more likely to be
       convicted, or receive a more punitive sentence. Any plea deal that involves immediate
       release from jail would be very tempting, even if the deal involved onerous probation
       requirements, heavy fines, and negative impacts on future labor market prospects or
       access to public benefits (Bibas, 2004). It may be that since some of the disruptions of
       incarceration have already occurred – loss of job/housing, the initial adjustment to life
       behind bars – the incentives to fight the charges are lower. Jail may affect optimism
       about the likelihood of winning the case, or, by changing the reference point, may affect
       risk preferences in such a way that the certainty of a plea deal seems preferable to the
       gamble of a trial. Detention also impairs the ability to gather exculpatory evidence,
       makes confidential communication with attorneys more difficult, and limits opportu-
       nities to impress the judge with gestures of remorse or improvement (taking an anger

   9
      Based on discussions with former New Orleans Parish defenders.
  10
      In Philadelphia, a bench trial is the default for all but the most serious felonies. The right to a jury
trial can be asserted upon request, but this is uncommon. While there is no formal mechanism that ensures
that a bench trial will lead to better outcomes for the defendant than a jury trial, all defense attorneys
interviewed assured me that this was the case.


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  management course, entering rehab, etc.) (Goldkamp, 1980). Detained defendants may
  attend pretrial court appearances in handcuffs and/or prison garb, creating superficial
  impressions of criminality. Furthermore, if a defendant must await trial behind bars
  he may be reluctant to employ legal strategies that involve delay. While a released
  defendant may file continuances in the hopes that the prosecution’s witnesses will fail
  to appear, memories will blur, or charges eventually get dropped, a detained defen-
  dant pays a much steeper price for such a strategy. More nefariously, those detained
  have less opportunity to coerce witnesses, destroy evidence or otherwise impede the
  investigation (Allen and Laudan, 2008).
      These different mechanisms through which pretrial detention could affect case out-
  comes are likely to vary in importance by defendant and according to the local charac-
  teristics of criminal procedure. While there is little reason to believe that the results
  shown in this paper are unique to Philadelphia, the magnitude of the effects may differ
  across jurisdictions.



  3     The natural experiment
      Immediately after arrest, arrestees are brought to one of seven police stations around
  the city. There, the arrestee will be interviewed via videoconference by Pretrial Ser-
  vices. Pretrial Services collects information about various risk factors as well as fi-
  nancial information to determine eligibility for public defense. Using risk factors and
  the current charge, Pretrial Services will determine the arrestee’s place in a 4 by 10
  grid of bail recommendations. Although these bail guidelines suggest a wide range of
  appropriate bail, they are only followed about 50% of the time (Shubik-Richards and
  Stemen, 2010). Once Pretrial Services has entered the bail recommendation and the
  financial information into the arrest report the arrestee is ready for her bail hearing.
      Once every four hours the magistrate will hold bail hearings (in Philadelphia these
  are called Preliminary Arraignments) for all arrestees who are ready. The bail hear-
  ing will be conducted over videoconference by the magistrate, with a representative
  from the district attorney’s office, a representative from the Defender Association of
  Philadelphia (the local public defender), and a clerk also present. In general, none are
  attorneys. The magistrate makes the bail determination on the basis of information in
  the arrest report, the pretrial interview, criminal history, bail guidelines, and advocacy
  from the district attorney and public defender representatives.
      There are four things that happen during the bail hearing: the magistrate will
  read the charges to the arrestee, inform her of her next court appearance, determine
  whether the arrestee will be granted a court-appointed defense attorney, and set the
  bail amount. The first two activities are formalities that ensure the defendant is aware


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       of what she is being charged with and where her next court date is. Eligibility for
       public defense is determined by income. If the defendant is deemed eligible, she will
       be assigned either to the Defender Association, or to a private attorney who has been
       approved to accept court appointments by the City of Philadelphia. The default is to
       appoint the Defender Association; if procedural rules require the court to appoint an
       attorney outside of the Defender Association the magistrate’s clerk will appoint the
       attorney at the top of a rotating list of eligible attorneys known as a ‘wheel’.11
          A typical bail hearing lasts only a minute or two and the magistrate has broad
       authority to set bail as she sees fit.12 Bail decisions fall into three categories: release
       with no payment required, cash bail or no bail.13 Those with cash bail will be required
       to pay a 10% deposit on the total bail amount in order to be released. After disposition,
       and assuming that the behavioral conditions of the pretrial period were met, 70% of
       this deposit will be returned. The City of Philadelphia retains 30% of the deposit,
       even if charges get dropped or the defendant is acquitted on all charges. Those who
       do not have the 10% deposit in cash can borrow this amount from a commercial bail
       bondsman, who will accept cars, houses, jewelry and other forms of collateral for their
       loan. If the defendant’s arrest occurred while she is already on probation or parole,
       her probation officer may choose to file a detainer. If a detainer is filed she may not
       bail out until a judge removes the detainer.14
          The research design uses variation in the propensity of the magistrates to assign
       affordable bail as an instrument for detention status. The validity of the instrument
       rests on several factors, including that the magistrate received is essentially random
       and that the instrument not affect outcomes through a channel other than pretrial
       detention. The following details help ease concerns along these lines.
          Philadelphia employs six Arraignment Court Magistrates at a time, and one of the
       six will be on duty 24 hours a day, 7 days a week, including holidays. Each day is
       composed of three work shifts: graveyard (11:30 pm-7:30 am), morning (7:30 am-3:30
       pm) and evening (3:30 pm-11:30 pm). Each magistrate will work for five days on a

  11
      If there are multiple codefendants, such that representing all of them would pose a conflict of interest,
one defendant will be randomly selected to be served by the Defender Association and the others will receive
a court-appointed attorney. For opaque historical reasons, four out of five defendants charged with murder
will be represented by court-appointed attorneys and the fifth will be represented by the homicide division
of the Defender Association (Anderson and Heaton, 2012). This decision is made by the order in which
defendants are entered into the data system and the court-appointed attorney is chosen by a Municipal
Court judge, not a magistrate.
   12
      If either the defense or the prosecution is unhappy with the decision they can make an appeal to a judge
immediately after the bail hearing. However the bar is high for overturning the original bail decision so this
is not very common.
   13
      Holding a defendant without bail is uncommon, although bail is sometimes set at prohibitively high
rates.
   14
      The detainer hearing usually happens within a week of arrest. Detainer cases are evenly distributed
across magistrates and should not bias the results.


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       particular shift, take five days off, then do five days on the next shift, five days off, and
       so forth. For example, a magistrate may work the graveyard shift from January 1st
       to January 5th, have January 6th-10th off, then work the morning shift from January
       11th-15th, have the 16th-20th off, do the evening shift from January 21st-25th, take
       the next five days off, and then start the cycle all over again.
          This rotation relieves concerns that certain magistrates set higher bail because
       they work during shifts that see higher-risk defendants. Over time, each magistrate
       will be scheduled to work a balanced number of weekends, graveyard shifts, and so
       forth. However the magistrates do not always work their appointed shifts; in fact,
       about 20% of the time there is a substitute (usually one of the other magistrates).
       To avoid potential confounds I instrument with the magistrate who was scheduled to
       work instead of the magistrate who actually worked. Furthermore, arrestees do not
       have latitude to strategically postpone their bail hearing to receive a more lenient
       magistrate. The process from arrest to bail hearing has been described as a conveyor
       belt: on average the time from arrest to the bail hearing is 17 hours and defendants are
       seen as soon as Pretrial Services notifies the Arraignment Court that they are ready
       (Clark et al., 2011). Thus the magistrate received by each defendant is essentially
       random, at least in that the sample of defendants who are seen by each magistrate
       should be statistically identical. I confirm this empirically in Section 5.
          Since the duties of the bail magistrate are so limited, there are few channels outside
       of the setting of bail through which the magistrate could affect outcomes. One concern
       would be a correlation between the schedules of the magistrates and the likelihood of
       receiving a particular judge, prosecutor or defense attorney later on in the criminal
       proceedings. However the peculiar schedule of the magistrates does not align with the
       schedule of any other actors in the criminal justice system. For one, this is because the
       other courts are not open on weekends. This is also because Philadelphia predominantly
       operates on a horizontal system, meaning that a different prosecutor handles each
       different stage of the criminal proceedings. Likewise, if the defendant is represented
       by the Defender Association (∼60% of the sample), she will have a different defense
       attorney at each stage.15 While attorneys often rotate duties, their rotations are based
       on a Monday-Friday work week and not the ‘five days on, five days off’ schedule of the
       magistrates.
          Eligibility for public defense is another potential channel through which the mag-
       istrate could affect outcomes; 75% of the sample has a public defender at the time of
       disposition. However there is no correlation between the leniency of the bail magis-
       trate and having a public defender. This can be seen in Figure 1a, where the x and

  15
     The most serious cases are not handled horizontally, however the choice of attorney to handle these
cases has nothing to do with the magistrate.


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   y axes show residuals from regressions of conviction and having a public defender (re-
   spectively) on controls for the time and season of the bail hearing. The time controls
   account for the fact that certain magistrates do not work through the entire time period
   of my data, and each dot represents the average per magistrate. There is no visible
   correlation between the likelihood of receiving a lenient magistrate and the likelihood
   of having a public defender. (Nor is there any statistically significant relationship be-
   tween the two in a regression.) In Section 6 I show that controlling for whether or not
   the defendant is represented by a public defender has no meaningful effect on the main
   results.
       The only other condition of release that the magistrates are responsible for is deter-
   mining whether the defendant must phone in periodically with Pretrial Services. As of
   2009, approximately 9% of defendants were required to call into pretrial services either
   once or twice a week as a part of their condition of release (Clark et al., 2011). These
   phone calls are made to an interactive voice-response system, there is no therapeutic
   element involved. Those who violate the call-in requirement do so with impunity: no
   violation notice is sent to the court, nor are any sanctions applied (Clark et al., 2011).
   It is unlikely that these calls will have more than a minor effect on case outcomes. In
   the Appendix I provide further evidence that the main results are robust to inclusion
   of controls for the telephone call-in requirement.
       More invasive conditions of release are available to judges later in the criminal pro-
   ceedings, but not to the magistrate who makes the initial bail assignment. These in-
   clude electronic monitoring, drug testing, substance abuse counseling, in-person meet-
   ings with pretrial services or house arrest. As of 2009, only about 1% of arrestees were
   assigned to any of these conditions (Clark et al., 2011). The schedules of the judges
   who assign these conditions of release do not correlate with the rotating schedule of
   magistrates.



   4     Data and descriptive statistics
       The data for this analysis comes from the court records of the Pennsylvania Unified
   Judicial System. PDF files of case dockets and court summaries were acquired by
   web-scraping public records; these were converted into data suitable for statistical
   analysis by text-parsing. The data covers all Philadelphia arrests in which charges
   were filed between September 13, 2006 and February 18, 2013. Before September 13,
   2006, Philadelphia used a different data management system and the data from that
   time period is of much lower quality. I do not look at cases which began after February
   18, 2013 both because I wanted to leave ample time for all cases to resolve and because
   one of the magistrates was replaced by a new one on that date.


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          Each observation in my data set refers to a particular criminal case. A case can
       have multiple charges and a defendant can have multiple cases. Information about the
       bail amount, the magistrate, the bail hearing, and the charges at the time of the bail
       hearing comes from the Municipal Court (lower court) dockets. Information about
       court fees and whether the defendant is held pretrial on a detainer can be found in
       the Municipal Court dockets as well as the Court of Common Pleas (felony court)
       dockets. In addition, each defendant has a Court Summary Report, which summarizes
       the outcomes of each criminal case in which charges were filed in Pennsylvania. This
       provides both criminal history and recidivism information, as well as other general
       descriptors of each case (outcomes, sentencing, attorneys, dates of arrest/disposition
       etc.). Average gross income for each zip code in 2010 was acquired from IRS.gov.16
          A few constraints of the data should be noted. First, criminal history and recidivism
       is only available for crimes committed within Pennsylvania. Of these, I have the full
       range of past crimes, and all future crimes as of December, 2015. Second, the data
       does not allow me to distinguish between concurrent and consecutive incarceration
       sentences. The definition of the length of incarceration that is used in this paper is
       the longest sentence received. Finally, a small subset of the data got lost in the web-
       scraping process. I am missing key data sources for about 0.33% of the sample (about
       1000 cases), these have been dropped. Since these missing variables are due to technical
       errors in the download, they should not result in any systematic selection of cases and
       are not expected to affect the results. The final sample consists of 331,971 cases.
          Figure 1b shows a histogram of the number of days defendants are detained before
       disposition, conditional on being detained more than three days and less than 600 days.
       The left tail of the distribution is omitted since the primary definition of ‘detainees’
       used in this paper is being unable to make bail within three days; the long right hand
       tail of the distribution is omitted for visual simplicity. The median number of days
       detained for those who are unable to make bail within three days is 78, the mean is
       146.
          Summary statistics for the released group, the detained group, and the whole sample
       are shown in Table 1. Defendants are predominantly male, with an average age of 32.
       The race data available is not highly nuanced: 57% are labeled “black”, 28% are labeled
       “white” and the rest are either missing or labeled as “unknown”. Those detained tend
       to have longer criminal histories and are facing more serious charges than those released.
       11% of detainees are charged with a violent crime such as robbery, aggravated assault,
       murder, rape or burglary. It should be noted, however, that 28% of the detained sample
       are only facing misdemeanor charges.17
  16
   https://www.irs.gov/uac/soi-tax-stats-individual-income-tax-statistics-zip-code-data-soi
  17
   The offense information used in this paper is taken from the charge at the time of the bail hearing.
Many of those who were originally charged with felonies subsequently had the felony charge downgraded to


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          Almost half the sample have their charges dropped, dismissed, or are placed in
      some sort of diversion program.18 Almost everyone else was convicted, through plea
      or at trial, on at least one charge. 90% of cases resolved at trial result in convictions,
      suggesting that prosecutors will not bring a case to trial if they don’t believe they have
      a strong chance of winning. If a detained defendant pleads quickly to avoid more time
      waiting in jail, she may be pleading guilty on a case that otherwise would not have
      proceeded to court.
          One third of the sample is released without being required to pay bail and an
      additional 26% are able to pay their way out within three days of the bail hearing.
      Figure 1c shows the distribution of bail amounts for all defendants. The median amount
      of bail for the detained group is $10,000. About 10% of the sample has bail set at an
      amount greater than $0 but less than or equal to $2000. Among this low-bail sample
      – 77% of whom are charged only with misdemeanors – the average number of days
      detained pretrial is 28, and 40% are detained for at least four days. This group would
      need to pay a deposit of $200 or less to secure their freedom.
          Figure 1d shows the percentage detained and released at various levels of bail.
      This sample is limited to defendants who do not have a detainer placed on them –
      in other words, these defendants would be free to leave if they posted bail. Almost
      40% of defendants with bail set at $500 do not post bail within three days of the bail
      hearing. These defendants would only need to post a deposit of $50 in order to secure
      release. While a percentage may prefer to stay in jail, it is reasonable to infer that
      many would post bail if they could afford it. As of 2008, Philadelphia’s jails housed
      44% more inmates than they were designed to, and 20% of inmates were living in
      “triple cells” (three inmates in a cell designed for one or two people).19 “Lock-downs”
      and restrictions on movement are common, and despite the heat and humidity which
      characterize Philadelphia’s summers, many buildings lacked air conditioning.



      5      Empirical strategy
          Instrumenting for sentencing outcomes using varying propensities of randomly as-
      signed or rotating judges is a popular method of identifying causal effects in criminal
      justice (Kling, 2006; Aizer and Doyle, 2009; Loeffler, 2013; DiTella and Schargrodsky,
      2013; Mueller-Smith, 2015). My empirical specification follows in that tradition, most
      closely resembling that of Mueller-Smith (2015) and a specification used in a robustness

a misdemeanor.
   18
      Diversion programs are designed for those with low level misdemeanor charges; if the defendant agrees
to requirements such as paying restitution to victims, entering rehab, or performing community service, they
are generally able to avoid a formal adjudication of guilt and a criminal record.
   19
      From Williams v. City of Philadelphia, 2008


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        test in Aizer and Doyle (2009). I use a jackknife (leave-one-out) instrumental variables
        method, allowing the preferences of the magistrate to vary across three time periods
        and according to the offense, criminal history, race and gender of the defendant. The
        first stage of this specification is shown in Equation 1 where a dummy for pretrial
        detention in case i (Detentioni ) is regressed on the magistrate dummy (M agistratei )
        interacted with a subset of covariates (Covisub ) and with indicators for three time pe-
        riods (Ti ), as divided by February 23, 2009 and February 23, 2011.20 Other offense,
        criminal history, and demographic controls are included in Xi , and controls for the time
        and date of the bail hearing are included in T imei .2122 The instrument for pretrial
        detention for the defendant in case i is thus the average detention rate of all other
        individuals with a similar offense, criminal history, race and gender who had their bail
        set by the same magistrate during a two year period.

                 Detentioni = α1 + M agistratei ∗ Ti ∗ ω1 + M agistratei ∗ Covisub                            (1)
                              ∗ φ1 + Covisub ∗ Ti ∗ δ1 + Xi ∗ γ1 + T imei ∗ ψ1 + ei

           The second stage of the two stage least squares regression is shown in Equation 2
        where Case Outcomei represents a variety of case outcomes, Detention
                                                                         \ i is the fitted
        value from the jackknifed first stage, and Covisub , Xi , Ti and T imei are as described
        above.

                                      \ i ∗ β2 + Covisub ∗ Ti ∗ δ2 + Xi ∗ γ2 +
             Case Outcomei = α2 + Detention                                                                   (2)
                           T imei ∗ ψ2 + i

           Each magistrate sees about 17,000 cases during a two year period. Since the inter-
        action effects are additive, the instrument for each case will be estimated off of many
   20
       Cov sub consists of the following variables: dummies for the 17 most common offenses (murder, robbery,
aggravated assault, burglary, theft, shoplifting, simple assault, drug possession, drug sale, drug purchase,
marijuana possession, 2nd degree felony firearm possession, 3rd degree felony firearm possession, vandalism,
prostitution, first offense DUI, motor vehicle theft), a dummy for being labled black, a dummy for being
female, the number of prior cases, the number of prior violent crimes, a dummy for having at least one prior
and a dummy for having a detainer.
    21
       Xi includes controls for age, age squared, age cubed, the number of prior felony cases, prior cases where
the defendant was found guilty of at least one charge, dummies for having at least one prior case, having at
least three prior cases, awaiting trial on another charge, and having a prior arrest within five years of the bail
hearing. Offense variables include dummies for having a charge in the following category: rape, possession
of stolen property, second offense DUI, resisting arrest, stalking, indecent assault, arson, solicitation of
prostitutes, disorderly conduct, pedophilia, intimidation of witnesses, accident due to negligence, false reports
to a police officer, fleeing an officer, and reckless endangerment. Additional offense controls include dummies
for being charged with a first, second or third degree felony, an unclassified felony, a first, second or third
degree misdemeanor, an unclassified misdemeanor, or a summary offense. I also control for the total number
of charges, the total number of felony charges, the total number of misdemeanor charges, and the total ‘offense
gravity score’ of the charges (the offense gravity score is used by Philadelphia to measure the seriousness of
a charge on a scale of 1-8).
    22
       T imei includes dummies for each year, a cubic in the day of the year (1-365), dummies for each day of
the week, and for each shift in the day (graveyard, morning, evening).


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   thousands of other defendants. For example, the instrument for a white female with an
   aggravated assault charge who had bail set by Magistrate 3 will be calculated not just
   using others with the exact same characteristics, but rather the cumulative differential
   effect Magistrate 3 has on the detention status of whites, females, and those facing
   aggravated assault charges, compared to the sample average.
      The inclusion of interacted effects in the first stage increases the power of the in-
   strument, but it also eases concerns about monotonicity violations. The data shows
   ample evidence that magistrates who are relatively strict among certain types of cases
   are relatively lenient among others. Figure 2a shows detention rates by magistrate
   across the entire sample. The y axis shows residuals from a regression of the pretrial
   detention dummy on a set of time controls; the whiskers show the 95% confidence in-
   tervals. Each bar is the average residuals per magistrate. Figures 2b-f show the same
   per-magistrate average detention residuals among a sample limited to those charged
   with each of the five most common offense types: robbery, first offense DUI, aggravated
   assault, drug selling and drug possession. There is clear evidence of magistrate het-
   erogeneity in these graphs. The magistrate that is most lenient overall is the strictest
   on robbery charges, the magistrate who is strictest overall is the most lenient on drug
   selling charges, and so forth. Failing to account for this heterogeneity would mean that
   the instrument does not monotonically increase the likelihood of being detained for all
   defendants. If there is heterogeneity in treatment effects, an IV method which did not
   account for the heterogeneity in magistrate preferences would be biased.
      The magistrate received by each defendant must be essentially random to allow
   for a causal interpretation of the results. Table 2 shows that pretrial detention is en-
   dogenous but that the instrument for pretrial detention is uncorrelated with observable
   characteristics. Each cell of the table comes from a separate regression. The dependent
   variables of each regression – various covariates describing the case and the defendant
   – are shown in the left hand side of the table. Each cell shows the coefficient on pre-
   trial detention (Column 1) or the instrument for pretrial detention (Columns 2 and 3).
   Column 1 shows results for OLS regressions of each covariate on a dummy for pretrial
   detention, controlling only for a small set of time controls: fixed effects for each year
   and a cubic in the day of the year (1-365). As can be seen, pretrial detention is strongly
   endogenous. Those detained are facing more serious charges, have longer criminal his-
   tories, are more likely to be male, and more likely to have a graveyard-shift bail hearing.
   Column 2 shows results from regressing covariates on the “simple instrument”, i.e. the
   predicted likelihood of pretrial detention based on the leave-me-out average detention
   rate per magistrate. Fixed effects for each year, and a cubic in the day of the year, are
   included to account for the fact that some magistrates work in different time periods.
   While pretrial detention is strongly endogenous, this simple instrument for pretrial



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   detention is not. Of the 17 tests conducted, only one is statistically significant at the
   5% level, no more than would be expected by chance.
      Column 3 shows regressions of various covariates on the “interacted instrument”
   for pretrial detention, i.e. the leave-me-out predicted likelihood of detention based on
   the magistrate dummies interacted with three time periods, offense, criminal history,
   and demographics of the defendants, as described above. Once again, fixed effects for
   each year, and a cubic in the day of the year, are included to account for the fact that
   some magistrates work in different time periods. The dependent variables in Column 3
   are from Xi : variables that are included as controls in the main regression but are not
   included as interactions with magistrate fixed effects in the first stage. These include
   less common crime types, general descriptors of the charges (such as the total number
   of felony charges), indicators for shift times or weekends, and additional measures of
   criminal history. Also included as a dependent variable is the “offense gravity score”,
   which is a measure used in Philadelphia to evaluate the seriousness of the charges.
   Once again, the results show that the instrument for pretrial detention is exogenous to
   a wide variety of observable characteristics.
      Appendix A shows a set of alternative randomization tests. These tests involve
   regressing each covariate on the magistrate fixed effects and testing for joint significance
   of the fixed effects. Since the randomization doesn’t happen at the individual case
   level, but rather is a type of block randomization in which all defendants who have
   bail set during a given shift receive the same magistrate, I estimate the standard
   errors using a permutation test. The permutation test entails building 500 ‘false’ work
   schedules which follow the basic parameters of the real work schedules, such as the
   five day rotating shifts. The number of false work schedules is limited due to the
   computational demands of this exercise. In all, I conduct 70 different tests using the
   70 covariates available and find no evidence that magistrate assignment is anything
   other than random.
      Figure 3 shows graphical evidence of the main results: defendants whose bail hearing
   is presided over by a strict magistrate are more likely to be convicted. In Figure 3a
   the y and x axes show residuals from a regression of conviction and pretrial detention
   respectively on the set of time controls described by T ime. Figure 3b is similar except
   the dummies are residualized over Cov sub ∗ T 3 , X and T ime. Each circle represents
   the average detention and conviction residuals of one of the eight magistrates. As can
   be seen, there is a clear positive correlation between conviction and detention which,
   if anything, only gets stronger once the effect of covariates have been removed.




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   6     Full sample results
       This section provides IV and OLS results for the full sample of defendants. The IV
   results are local average treatment effects: treatment effects for those defendants whose
   likelihood of being detained increases upon receiving a strict magistrate. While the
   instrument is predictive of pretrial detention across a broad spectrum of defendants,
   its predictive power is strongest among those at the middle range of case severity. I
   conduct a diagnostic test which entails dividing the sample into five groups based on
   their expected length of incarceration sentence (as a function of the current charge,
   criminal history and demographics) and regressing a dummy for pretrial detention on
   the instrument and controls for each subgroup. A high t-statistic on the instrument for
   a particular subgroup suggests that this subgroup has a high percentage of “compliers”,
   or defendants whose likelihood of being detained increases when receiving a strict
   magistrate. I find that the t-statistic on the instrument is over ten for all five subgroups,
   but is almost twice as large (23-24) among the three middle subgroups. This suggests
   that there is less magistrate heterogeneity when it comes to very serious cases (murder,
   etc.) or low level cases (first time marijuana possession) than there is in the middle
   range of cases. The most common charges in this middle group include drug possession,
   aggravated assault, robbery, and theft. Similar to the sample averages shown in Table
   1, the average number of prior arrests for this middle group is 5.47, the average age is
   33, 57% are identified as black, and 83% are male.
       In Table 3 I show how pretrial detention affects both conviction and the likelihood of
   pleading guilty using a variety of different jackknife IV specifications. The specifications
   vary in whether or not controls are included and in the extent to which magistrate
   preferences are allowed to vary over case and defendant characteristics. Column 1
   shows results with no covariates and without allowing the magistrates’ preferences
   to vary (i.e. the only exogenous variables in the first stage are the eight magistrate
   dummies). In Column 2 the magistrate dummies are interacted with dummies for the
   three time periods T 3 . The standard errors decrease between the first and second
   column by about 10%, suggesting that allowing the magistrates to respond differently
   to the various changes that occur during the period of my analysis increases the power of
   the instrument. In the third column, detailed controls for the charges, criminal history,
   and demographics are introduced. The effect sizes either increase (conviction) or remain
   constant (guilty pleas). In Column 4 the magistrate preferences are allowed to vary
   according to the top five most common lead charges: drug possession, first offense DUI,
   robbery, selling drugs, and aggravated assault. In Column 5 I add interactions between
   magistrate dummies and the number of prior cases/prior violent crimes, dummies for
   having at least one prior case, having a detainer, and being black or female. In Column
   6 I add interactions between the magistrate dummies and the other most common crime


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       types: murder, burglary, theft, shoplifting, simple assault, buying drugs, marijuana
       possession, 2nd and 3rd degree felony firearm possession, vandalism, prostitution, and
       motor vehicle theft. Both effect sizes and standard errors decrease as instruments are
       added. This suggests that allowing the bail-setting habits of the magistrates to vary
       across defendant characteristics both increases the power and reduces non-monotonicity
       bias in the results. In particular, if treatment effects are smaller among crime types
       for which the monotonicity assumption is violated, then the estimates in Columns 1-3
       will be biased upwards. It should be noted, however, that non-monotonicity bias will
       not generate spurious results if no treatment effects exist. Under the null hypothesis
       it would be very unlikely to see effect sizes as large as those shown in Table 3.
          A t-statistic measuring the power of the first stage is shown in the bottom panel.
       This is the t-statistic from a regression of a dummy for pretrial detention on the
       instrument (the fitted values from the first stage) and the full set of controls. The
       t-statistic is almost three times as large in the right hand column than in the simplest
       specification.
          Heteroskedastic-robust standard errors are shown in parentheses, and the final col-
       umn also includes empirical p-values from a permutation test.23 The permutation test
       entails building a number of ‘false’ work schedules for the magistrates. Like the real
       schedules, each false work schedule has a magistrate working for five days in a row on
       the same shift, and each magistrate only works one shift per five day period. Within
       these constraints, work schedules are randomly assigned to create 500 unique false
       work schedules. The two-stage-least-squares results are calculated for each of the false
       schedules and the t-statistics on the instrument for pretrial detention in the second
       stage are collected. The empirical p-values are the fraction of false-schedule t-statistics
       which are greater in absolute value than the t-statistic from the real data. This process
       is computationally expensive, therefore only certain specifications have this result.
          My preferred specification is the one where magistrates’ preferences are allowed
       to vary across all 17 of the most common crime types, across the criminal history,
       race, and gender of the defendant, and over the three time periods. The power of the
       instrument is greatest in this specification, the standard errors are smallest, and non-
       monotonicity is less likely to be a concern when magistrates preferences are allowed to
       vary. It should also be noted that this is the most conservative specification: the effect
       sizes are smaller than in the simpler specifications. I estimate that pretrial detention
       leads to a 6.2 percentage point increase in the likelihood of being convicted and a 4.7
       percentage point increase in the likelihood of pleading guilty. Compared to the means
       for each dependent variable, that converts into a 13% increase in the probability of

  23
     Clustering standard errors at the magistrate or defendant level do not affect the standard errors con-
siderably.


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      conviction and a 18% increase in the likelihood of pleading guilty. The empirical p-
      values described above are 0.016 for conviction and 0.052 for pleading guilty. These
      are shown in curly brackets. For reference, the parametrically estimated p-values are
      also shown, in double parentheses. The empirical p-values are actually slightly smaller
      than those estimated parametrically.
          Table 4 shows how pretrial detention affects conviction rates, guilty pleas, court
      fees, the likelihood of being incarcerated, and both the maximum and minimum incar-
      ceration sentence.24 Panel A shows results from the jackknife instrumental variables
      method with the most fully interacted specification; the first two columns are iden-
      tical to the final column of Table 3. Panel B shows results from an OLS regression
      controlling for the full set of offense, criminal history, demographic and time controls
      and Panel C shows OLS results with controls only for the time and date of the bail
      hearing. With the exception of court fees and the incarceration dummy, results do not
      vary substantially between IV and OLS with controls.
          The IV estimates show that pretrial detention leads to an average increase of $129
      in non-bail court fees owed, counting defendants who are not convicted as receiving
      $0 fees. In general, defendants who are convicted in Philadelphia are required to pay
      court fees to cover a variety of expenses associated with the case, including court costs,
      victim restitution, lab tests, probation expenses, etc. Conditional on being convicted,
      court fees average at $611. For the tens of thousands of people convicted as a result of
      pretrial detention – many of whom were unable to pay even fairly small amounts of bail
      – these court fees may pose a significant challenge. Most defendants pay only a portion
      of these fees, remaining in debt to the city. 83% of defendants who were charged court
      fees are still in debt by December, 2015, with an average debt of $725, or 86% of the
      total amount. In 2011, Philadelphia hired a collection agency and began an aggressive
      campaign of collecting unpaid court debt dating back to 1971. This collection effort was
      controversial, partly because the court lacked records to back up computerized debt
      claims. Those who do not pay court fees face the threat of criminal prosecution, with a
      jail sentence of up to six months. There is no evidence, however, that criminal charges
      were ever filed against Philadelphia debtors (Denvir, 2012). Facing public backlash
      and civil rights lawsuits, Philadelphia scaled back on debt collection in 2014.
          The IV results for the likelihood of being incarcerated are positive but noisy, how-
      ever the results for the incarceration sentence length are more precise. Pretrial deten-
      tion leads to an expected increase of 124 days in the maximum days of the incarceration
      sentence, a 42% increase over the mean. Detention leads to a 136 day increase in the
      minimum number of days before being eligible for parole. Some defendants who have
      been detained get released on “time-served” – in other words, they time they spent

24
     Sentence length is coded as zero for individuals who do not receive an incarceration sentence.


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       detained pretrial is considered punishment for the crime. Since it was retrospectively
       considered punishment, I include time-served as part of the incarceration sentence. Us-
       ing alternative definitions, in which time-served is not included as part of the sentence
       length, I estimate that pretrial detention leads to a 92 day increase in the maximum
       sentence and a 107 day increase in the minimum sentence. These results are noisier,
       although the latter result is still significant at the 10% level.
          Empirical p-values for all these results are shown in curly brackets. For ease of ref-
       erence, the parametrically estimated p-values are shown in double parentheses. Again,
       the empirical p-values are generally a little smaller than those estimated parametrically.
          Table 5 provides evidence that variation in eligibility for public defense does not
       confound the estimates of the impacts of pretrial detention. Panel A of Table 5 is
       identical to Panel A of Table 4 except that there are two endogenous variables that
       are instrumented for with magistrate dummies: pretrial detention and a dummy for
       having a public defender at the time of disposition.25 I find no statistically significant
       effect on having a public defender in any specification, and the coefficients on pretrial
       detention change only trivially. Panel B is similar to Panel A except that I add the
       controls for having a public defender in the second stage. Once again, the coefficients
       on pretrial detention change only trivially; if anything, they increase slightly in both
       magnitude and precision.
          While not the focus of this paper, I also include estimates of the effect of pretrial
       detention on crime. Table 6 shows how pretrial detention impacts the likelihood of
       being charged with a new crime during the first six months after the bail hearing
       (Column 1), the likelihood of being charged with a new violent crime during the first
       six months after the bail hearing (Column 2), the likelihood of being charged with a
       new crime at least one year after the bail hearing (Column 3), the likelihood of being
       charged with a new crime within the second and third years after the bail hearing
       (Column 4), and the likelihood of being charged with a new crime within the third
       or fourth years after the bail hearing (Column 5). The first two columns will mostly
       be detecting the influence that pretrial detention has on pretrial crime. The latter
       three columns will mostly be detecting the impact that pretrial detention has on post-
       disposition crime. I define the recidivism time windows with reference to the bail
       hearing instead of the disposition date since the time to disposition is a function of
       detention status. Since those detained generally have a shorter time to disposition than
       those released, the effects of pretrial detention on pretrial or post-disposition crime is
       confounded with the length of those periods.
          The sample in the latter two columns is limited to defendants for which at least
  25
      The dummy is equal to one if the defender has a public defender or a court appointed attorney; 86% of
public defense is handled by a public defender. The magistrate has no say over which type of public defense
is received.


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   three and five years (respectively) of post-bail-hearing data is available. Violent crimes
   consist of murder, rape, aggravated assault, robbery, and burglary. All specifications in
   Panel A use the fully interacted jackknife IV, all specifications in Panel B use OLS with
   extensive controls. Column 1 indicates that pretrial detention leads to a substantial
   decrease in the likelihood of a new charge. The IV estimates are about twice as large
   in magnitude as the OLS methods. The IV results show that detaining people for more
   than three days after the bail hearing (many of whom remain incarcerated for months)
   decreases the rate of rearrest within six months by 13 percentage points. Pretrial
   detention decreases the six month rate of rearrest for a violent offense by almost six
   percentage points. The OLS estimates on the effects of pretrial detention on violent
   crime are much smaller, indicating that pretrial detention predicts a decrease of less
   than a percentage point in six month violent crime arrest. The differences between
   OLS and IV in this Table is likely partly due to selection bias and partly due to the
   difference between the average treatment effect and the local average treatment effect.
      The IV coefficients on pretrial detention in the latter three columns are negative,
   but only one is marginally significant at the 10% level. This is consistent with in-
   creased incapacitation due to longer incarceration sentences. The OLS results show
   that pretrial detention predicts an increase in post-disposition crime. This may be due
   to selection bias.
      In Table 1B in the Appendix, I provide alternate specifications in which bail (Panel
   A) and non-financial release (Panel B) are the independent variables of interest. I
   use the jackknife IV method with the full set of magistrate interactions in the first
   stage. The signs of the coefficients are generally as expected: higher bail amounts are
   associated with higher conviction rates, court fees and incarceration, and non-financial
   release is associated with lower conviction rates, court fees and incarceration. The
   effects are less precisely estimated than the effects of pretrial detention.
      Panel C of Table 1B in the Appendix shows that the main results are robust to
   controls for being required to make weekly or bi-weekly telephone call-ins to an auto-
   mated voice message system. These telephone call-ins are the only conditions of release
   that the magistrates have authority to assign to defendants during the period of my
   analysis. A dummy for being released without monetary bail, but required to call in
   periodically, is instrumented for using the same magistrate interaction effects as are
   used to instrument for pretrial detention. This dummy will be correlated with pretrial
   detention, since the call-in requirement is a type of release. As such, a reduction in the
   coefficients on pretrial detention would not be surprising. However the coefficients on
   pretrial detention do not change considerably in magnitude with the addition of these
   controls, suggesting that the estimated impacts of pretrial detention on case outcomes
   is not caused by variation in the call-in requirement.



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       7     Subgroup effects
           In Table 7 I show results for misdemeanors and felonies using both IV and OLS
       techniques.2627 The IV effect sizes of the felony sample are similar in magnitude to
       the full sample, but are noisy. The IV effects among misdemeanors are more precisely
       measured and are slightly larger than the full sample estimates, especially in relation to
       the means of the dependent variables. In fact, pretrial detention among misdemeanor
       defendants leads to a statistically significant increase in all outcomes. The effects
       on punishment are particularly large: those detained will be 7.6 percentage points
       more likely to receive a sentence of incarceration over a mean 16% incarceration rate.
       While the expected increase in sentence length is only a month or two, this represents
       more than a 100% increase relative to the mean. The large incarceration effects among
       misdemeanor defendants may be partly explained by defendants who receive a sentence
       of “time-served”, which is more common among misdemeanors. Using alternative
       definitions of sentence length in which time spent detained pretrial is subtracted from
       the incarceration sentence, pretrial detention is estimated to lead to a 38 day increase
       in the maximum days and an 11 day increase in the minimum days.
           Figure 4 shows how the impacts on conviction vary across offense. The top panel
       shows OLS results for each subgroup of defendants facing the charge shown on the
       left. The dot is the coefficient and the line represents the 95% confidence interval.
       The bottom panel is similar to the top, except the jackknife IV method (using only
       the 8 magistrate dummies, no interactions) is used. The IV results are included for
       completeness, however the wide confidence intervals preclude meaningful inference.
       The subgroup IV results with the widest intervals were omitted for visual clarity. The
       OLS results are much more precisely estimated and the effects vary widely by offense
       type. While OLS results may exhibit bias, it is unlikely that the bias for each subgroup
       would exactly cancel out the heterogeneity in effect size.
           Several explanations are consistent with the variation in effect sizes shown in the
       OLS regressions. Generally, effect sizes appear larger among more serious crimes, but
       there are exceptions. Selling drugs is considered a serious crime in Philadelphia, as
       is illegal firearm possession. The effect sizes are relatively small for these offenses.
       Conversely, simple assault is a less serious crime, but the effect size is large for this
       category. Another potential explanation has to do with the strength of the evidence
       that tends to be available in each type of case. Evidence can be difficult to refute in
       certain types of crimes, generally those in which the defendant is caught in the illegal

  26
      The felony sample is defined as those who were charged with at least one felony at the time of the bail
hearing; many of these had their charges downgraded to misdemeanors only by the time of the arraignment.
   27
      The IV specifications allow the magistrate preferences to vary across time and across defendant char-
acteristics, as shown in Column 6 of Table 3.


                                                     21
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   act: drug possession/sale, DUI, illegal firearm possession. In other types of crimes,
   the inculpatory evidence is weaker. It is possible that there is less room for extra-legal
   factors such as detention status to influence case outcomes when the evidence is strong
   than in cases where the evidence is more contestable. When the prosecution’s evidence
   is weak the defendant’s success depends more on her ability to gather exculpatory
   evidence, confer with her lawyer, or engage in strategic delay tactics. These are all
   more difficult for those in jail. Further, pretrial detention may change the defendants’
   reference point so that incarceration is the default and freedom seen as a gain. Since
   weaker evidence cases will have higher variance in the outcome, risk aversion over gains
   may tilt the defendant towards pleading guilty.
      I develop two measures of the strength of the evidence that tends to be available in
   different types of cases. The first measure is a survey of Philadelphia’s criminal justice
   professionals, in which I ask them to rate the strength of evidence that is typical of
   different offense types. The second measure is the average conviction rate per offense
   type, with the assumption that offense types where the evidence tends to be strongest
   will have the highest rates of conviction. While the two methods vary somewhat in the
   ranking, the results are broadly similar. The offenses shown in Figure 4 are ordered
   by the average of the two rankings, with the strong-evidence cases on the top and
   the weak-evidence cases on the bottom. Indeed, effect sizes do appear generally larger
   among weaker-evidence offense types. While suggestive, more research is necessary to
   understand why pretrial detention affects case outcomes more in certain types of cases
   than others.
      Tables 1C, 1D, and 1E in the Appendix show IV results for blacks, whites, young
   defendants, older defendants, those with one or no prior arrests, and those with more
   extensive criminal history. There is suggestive evidence that effect sizes are slightly
   large for those with limited prior history, particularly with reference to the means of
   the dependent variables, but the confidence intervals are too large to draw definitive
   conclusions. The effect sizes do not appear to differ substantially across the age or race
   of the defendant.
      While the IV results are generally too noisy to demonstrate conclusive evidence of
   treatment effect heterogeneity, this is a far cry from showing definitive evidence that
   treatment effects are homogenous. When the monotonicity assumption is violated,
   small differences in treatment effects across groups can result in large biases. Under
   clear violations of monotonicity, the burden of proof is on the researcher to demonstrate
   that treatment effects are homogenous. A conservative – and common sense – approach
   is to assume that there is at least some treatment effect heterogeneity, even if the IV
   method can’t provide conclusive evidence about where it lies.




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      8      Socio-economic disparities
          The results shown in the previous two sections demonstrate that pretrial detention
      has serious consequences beyond simply the loss of freedom during the pretrial period.
      This is particularly concerning if there are socio-economic disparities in detention rates.
      I find that black defendants are about 40% more likely to be detained than non-black
      defendants, and defendants from low-income neighborhoods are about 17% more likely
      to be detained than those from wealthier neighborhoods. About half of this gap is due
      to the fact that, on average, black defendants and those from poor neighborhoods are
      facing more serious charges and have lengthier criminal records, and thus have higher
      bail. Conditional on the charge and criminal record, bail is very similar across race and
      neighborhood income level. About half of the gap in detention rates across race and
      neighborhood income is due to differences in the likelihood of posting a given amount
      of bail. For example, about 46% of black defendants with bail set at $5000 post bail,
      compared to 56% of non-black defendants.
          In Panel A of Table 8 I test to see if there are differences in bail amounts across
      race and neighborhood income, conditional on the charge, criminal record, and age of
      the defendants. The dependent variables in each column are dummies for receiving
      non-monetary bail, low bail (bail greater than zero and less than or equal to $2500),
      medium bail (bail greater than $2500 and less than or equal to $10,000) and high bail
      (bail greater than $10,000). The independent variables are a dummy for being labeled
      black in the data and a dummy for living in the lowest quintile of average zip code
      income, as measured by IRS tax returns. Each regression controls for a detailed set
      of variables describing the current charges, the criminal history, the time and date of
      the bail hearing, and age. The sample is limited to those for whom zip code data is
      available.
          While some of the results are statistically significant, they tend to be small in
      magnitude. Furthermore, the results vary in sign in a manner that belies a clear trend.
      Bail is neither systematically higher nor systematically lower for black defendants or
      those from low-income neighborhoods, conditional on charge, criminal history and
      age. These results cannot be interpreted “causally” because there may be differences
      across the groups that are not captured in the control variables. Furthermore, within
      a Rubin Causal Model framework, the causal impact of characteristics that are deeply
      intertwined with many facets of life, such as race, are hard to conceptualize. However as
      a descriptive statement, bail levels differ only trivially across the race and neighborhood
      wealth of defendants, conditional on the charge, criminal record, and age.
          There have recently been a number of civil rights lawsuits which contend that bail
      that doesn’t take ability to pay into account is unconstitutional.28 The Department of
28
     Varden v. City of Clanton, Walker v. Calhoun, O’Donnell V. Harris County, Buffin/Patterson v. City


                                                  23
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      Justice filed an amicus brief in support of one of these suits, stating “...bail practices
      that incarcerate indigent individuals before trial solely because of their inability to pay
      for their release violates the Fourteenth Amendment.”29 If magistrates were taking
      ability to pay into account as they set bail we would expect bail to be lower for low-
      income defendants. To the extent that race and neighborhood income levels are a
      proxy for ability to pay, I find no evidence that magistrates are setting bail lower for
      defendants who are less able to afford it.
          Panel B of Table 8 shows the fraction of defendants within each bail category who
      post bail. For example, Row 1 of Column 2 shows the fraction of black defendants
      with low bail who post bail. Row 2 of Column 2 show the fraction of defendants
      whose race is labeled white or unknown with low bail who post bail.30 Across all bail
      categories, black defendants are less likely to post bail than non-black defendants, and
      defendants from low-income neighborhoods are less likely to post bail than defendants
      from high-income neighborhoods.
          Panel A of Table 9 compares the actual detention rate of black and non-black
      defendants to the detention rate each group is predicted to have if they posted bail at
      the same rate as the other group. The calculations for these predictions are shown in
      Equations 3 and 4. Equation 3 shows the predicted detention rate for defendant j who
      is in group J, based on the average detention rate for defendants with the same amount
      of bail as defendant j but who are in group S. For example, if J is the group of black
      defendants and S is the group of non-black defendants, P redicted DetentionSj for a
      black defendant with bail set at $5000 would be the average detention rate of non-black
      defendants who have bail set at $5000. The predicted detention rate for entire group
      J, based on detention rates of group S (P redicted DetentionJ,S ) is thus the average
      predicted detention rate of all defendants in group J. Defendants who have some sort
      of detainer placed on them that would prevent them from being released even if they
      posted bail are removed from the sample for the purposes of this exercise.31
                                                    PS
                                                      s I(bails = bailj ) ∗ detentions
                      P redicted DetentionSj =             PS                                       (3)
                                                             s I(bails = bailj )

                                                           J
                                                      1X
                        P redicted DetentionJ,S =        P redicted DetentionSj                     (4)
                                                      J
                                                           j



and County of San Francisco, etc.
    29
       Walker v. Calhoun, 2016
    30
       Column 1 shows that 1-2% of those with non-monetary bail do not post bail. The bail information
is the original bail amount, some defendants have the bail revised upwards if the prosecution appeals the
decision of the magistrate.
    31
       A very tiny minority of defendants – less than 200 for all groups – have bail set at a level where there
are no defendants from the other group. These have been dropped.


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            Row 1 of Panel A of Table 9 shows the actual detention rates for both black de-
        fendants and non-black defendants. Black defendants are 12 percentage points more
        likely to be detained than defendants labeled white or unknown. Part of this race gap
        is due to the fact that black defendants, on average, are facing more serious charges
        and have higher levels of bail. Row 2 isolates the differences in detention rates that are
        due solely to differences in the likelihood of posting bail. Column 1 of Row 2 shows
        the predicted rates of detention for black defendants if they posted bail at the same
        rate as non-black defendants. This is P redicted DetentionJ,S , where group J consists
        of black defendants and group S consists of non-black defendants. While the actual
        rate of detention for black defendants is .427, the predicted rate is only .369. Black
        defendants are 5.8 percentage points more likely to be detained than they would be if
        they had posted bail at the same rate as non-black defendants. Similarly, non-black
        defendants are 5.2 percentage points less likely to be detained than if they posted
        bail at the same rate as black defendants. Thus, about half of the total race gap in
        detention rates is due to the fact that black defendants are less likely to post bail.32
            Panel B of Table 9 conducts a similar exercise, comparing actual versus predicted
        rates of detention for defendants from the lowest quintile and highest quintile of the
        average zip code income distribution. The detention rate for defendants from high-
        income zip-codes is .402; the detention rates for defendants from low-income zip-codes
        is .341. In relative terms, defendants from low-income zip-codes are 17% more likely to
        be detained than those from wealthier neighborhoods. As above, approximately half
        of the total gap in detention rates across neighborhood income is due to the fact that
        defendants from low-income neighborhoods are less likely to post bail.
            Both race and the average neighborhood income are expected to correlate with the
        financial means of the defendant. In fact, the average household income for blacks in
        Philadelphia is 2/3 that of white households (Ingram, 2007). The most straightfor-
        ward explanation for the disparities in the likelihood of posting bail across race and
        neighborhood income is that, on average, black defendants and those from low-income
        neighborhoods are less able to afford the bail that has been set.



        9     Conclusion
            Right now there is a wave of momentum in bail reform that dwarfs any seen in
        decades. In the last several years, New Jersey, Kentucky, Colorado, Maryland, New
        Mexico, Chicago, New York City and many other places have committed to or imple-


   32
     If this exercise is done in regression format, where a dummy for pretrial detention is regressed on a fully
saturated set of dummies for the bail amount and an indicator for being black, the coefficient on “black” has
a t-statistic of 40.


                                                      25
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       mented pretrial reform. Twenty-six cities are implementing new pretrial risk assess-
       ment regimes in partnership with the Laura and John Arnold Foundation and 20 cities
       are developing pretrial reform proposals with a $75 million fund from the MacArthur
       Foundation. Yet despite all this activity, research on the pretrial period is limited.
          Using a natural experiment in Philadelphia where the likelihood of being detained
       pretrial is exogenously affected by the magistrate who presides over the bail hearing, I
       find that pretrial detention leads to a 13% increase in the likelihood of being convicted,
       mostly by increasing the likelihood that defendants, who otherwise would have been
       acquitted or had their charges dropped, plead guilty. Pretrial detainees will owe more
       in court fees and receive longer incarceration sentences than similarly situated releasees.
          I also find that black defendants are about 40% more likely to be detained than
       non-blacks, and defendants from low-income neighborhoods are 17% more likely to
       be detained than those from wealthier neighborhoods. While part of these gaps are
       explained by differences in the charges and criminal record – and therefore differences
       in the bail amount – another part is explained by differences in the likelihood of posting
       bail. If black defendants and those from low-income neighborhoods posted bail at the
       same rate as non-blacks or those from wealthier neighborhoods, about half of the gap
       in detention rates would disappear. It is likely that at least part of the disparities in
       the likelihood of posting bail are due to disparities in wealth, income, and the access to
       credit, suggesting that the use of monetary bail leads to socio-economic disparities in
       pretrial detention. Since pretrial detention affects case outcomes, monetary bail would
       then lead to socio-economic disparities in conviction and sentencing.
          The downstream consequences of pretrial detention suggest that the bail hearing
       should indeed be thought of as a ‘critical-stage’, and, since defendants have a con-
       stitutional right to counsel at all ‘critical stages’ of the criminal proceedings, defense
       attorneys should be provided to the indigent. However, as of 2008, only ten states were
       uniformly providing counsel at the first appearance (Colbert, 2011).33 More generally,
       the impact that pretrial detention has on the outcome of a case underlines the impor-
       tance of ensuring that only defendants who pose a risk to society or to the integrity
       of the criminal proceedings should be detained. Bail hearings that last a minute long,
       occur over videoconference, and have no lawyers present are unlikely to be effective in
       determining which defendants can be safely released. Taking more time to evaluate
       evidence, hearing arguments from counsel, and providing increased training to magis-
       trates is likely to increase the efficacy of the decision making process and reduce the
       likelihood that low risk defendants are incarcerated before they are convicted. Finally,
       the results of this paper speak to the importance of eliminating socio-economic dispar-

  33
     Philadelphia is currently implementing reforms to provide a public defender to confer with the client
before the bail hearing, and to present any mitigating evidence to the magistrate.


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   ities in pretrial detention. The fact that black defendants and those from low-income
   neighborhoods are more likely to be detained solely because they are less likely to
   post bail suggests that a reduced reliance on monetary bail will reduce disparities in
   detention and thus disparities in conviction rates and incarceration.



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                                   Table 1: Summary statistics

                                                                       Released      Detained Total
Age                                                                      32.8          32.0    32.5
Male                                                                     0.79          0.88   0.83
White                                                                    0.30          0.26   0.28
Black                                                                    0.52          0.65   0.57
Unknown/missing race                                                     0.15          0.06   0.11
Charged with selling drugs                                               0.12          0.13   0.12
Charged with robbery                                                     0.02          0.14    0.07
Charged with drug possession                                             0.18          0.06   0.13
Charged with aggravated assault                                          0.07          0.11   0.09
Charged with 1st offense DUI                                             0.10          0.02   0.06
Number of prior cases                                                    3.90          6.28   4.88
Has felony charge at time of bail hearing                                0.36          0.72   0.51
Case proceeds to felony court                                            0.19          0.40   0.28
Number of charges per case                                               4.98          6.56    5.63
Bail                                                                    $3,413       $61,974 $26,844
Non-financial release                                                    0.54          0.01    0.33
Detained>3 days                                                            0             1     0.41
Detained at time of disposition                                            0           0.60   0.25
All charges dropped or dismissed                                         0.48          0.48   0.48
Case went to trial                                                       0.32          0.19   0.27
Not guilty on all charges                                                0.03          0.03   0.03
Guilty of at least one charge                                            0.49          0.49   0.49
Pled guilty to at least one charge                                       0.21          0.33   0.26
Court fees charged                                                       $387         $206    $312
Sentenced to incarceration                                               0.18          0.32    0.24
Maximum days of incarceration sentence                                    94           576     292
Minimum days of incarceration before parole eligibility                   39           322     155
Observations                                                           195,340       136,631 331,971
                               Conditional summary statistics
Court fees charged (cond. on conviction)                      $409                     $753         $611
Sentenced to incarceration (cond. on conviction)              0.46                     0.67         0.49
Max. days of incarc. sentence (cond. on incarceration)        529                      1736         1213
Min. days before parole eligibility (cond. on incarceration)   220                      971         645
Note: “Released” is defined as released from pretrial custody within three days after the bail hearing, and
  “Detained” is defined as detained pretrial for at least four days. The statistic shown is the mean and, un-
  less otherwise indicated, variables are dummies where 1 indicates the presence of a characteristic. Age is
  measured in years, those marked “Number...” are count variables, and those expressed in dollar amounts
  are currency. The sentence is coded as zero if the defendant did not receive an incarceration sentence. The
  summary statistics in the bottom panel are limited to those who are convicted (top two rows) or receive
  an incarceration sentence (bottom two rows).



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                                  Table 2: Randomization test

                                       (1)                (2)                      (3)
                                      OLS         Simple instrument       Interacted instrument
  White                           -0.0399∗∗∗∗          0.0834
                                   (0.00158)          (0.0631)
  Male                            0.0905∗∗∗∗          -0.00484
                                   (0.00126)          -0.00484
  At least one prior charge         0.140∗∗∗∗          -0.0485
                                   (0.00143)          (0.0600)
  Robbery                           0.127∗∗∗∗          0.00994
                                   (0.00101)          (0.0364)
  First time DUI                  -0.0833∗∗∗∗          -0.0429
                                  (0.000760)          (0.0335)
  Selling drugs                   0.00634∗∗∗∗          0.0170
                                   (0.00117)          (0.0466)
  Aggravated assault              0.0444∗∗∗∗          -0.00302
                                   (0.00105)          (0.0395)
  Age                              -0.901∗∗∗∗           -1.700                       0.377
                                    (0.0398)           (1.574)                      (0.602)
  Prior felony arrests              0.819∗∗∗∗          0.559∗∗                      -0.0623
                                   (0.00772)           (0.274)                      (0.108)
  Prior convictions                 0.779∗∗∗∗           -0.127                      -0.0796
                                   (0.00902)           (0.337)                      (0.128)
  Offense gravity score             9.107∗∗∗∗           -0.675                       0.158
                                    (0.0422)           (1.673)                      (0.365)
  Number felony charges             3.193∗∗∗∗           -0.494                      -0.0167
                                    (0.0168)           (0.673)                      (0.184)
  Rape                            0.0156∗∗∗∗           -0.0104                     0.00116
                                  (0.000372)          (0.0128)                    (0.00457)
  Resisting arrest                 0.0108∗∗∗∗          -0.0273                     -0.00407
                                  (0.000591)          (0.0225)                    (0.00878)
  Disorderly conduct             -0.00712∗∗∗∗          0.00861                     0.00254
                                  (0.000420)          (0.0171)                    (0.00274)
  Graveyard shift                  0.0311∗∗∗∗          0.0753                      0.00799
                                   (0.00165)          (0.0650)                     (0.0284)
  Weekend shift                    -0.000252            0.0262                      0.0197∗
                                  (0.000635)          (0.0252)                     (0.0113)
  Observations                       331971            331971                       331971
  Heteroskedastic-robust standard errors in parentheses
  ∗
    p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
   Note: The dependent variables are shown on the left hand side. In Column 1 the independent
     variable is a dummy for pretrial detention, in Column 2 it’s the “simple instrument” for pretrial
     detention (the predicted likelihood of detention based on the magistrate dummies) and in Column
     3 it’s the “interacted instrument” (the predicted likelihood of detention based on the magistrate
     dummies interacted with three time periods, offense, criminal history and demographics.) Each
     regression controls for the year and season of the bail hearing to account for the fact that some
     magistrates work in different time periods. 32
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      Table 3: How does pretrial detention affect conviction rates and guilty pleas?

Panel A: Full sample (IV)                          Conviction (mean dep. var.= 0.49)
                                       (1)         (2)       (3)       (4)       (5)                  (6)
Pretrial detention                   0.167∗∗    0.180 ∗∗∗
                                                          0.282 ∗∗∗
                                                                    0.119 ∗∗∗
                                                                              0.0907∗∗             0.0620∗∗
                                    (0.0736)    (0.0655) (0.0868) (0.0412) (0.0364)                (0.0291)
                                                                                                    {0.016}
                                                                                                   ((0.032))
Panel B: Full sample (IV)                         Guilty pleas (mean dep. var.=0.25)
                                       (1)         (2)       (3)       (4)      (5)                   (6)
Pretrial detention                   0.124∗∗    0.174 ∗∗∗
                                                           0.177 ∗∗
                                                                    0.102 ∗∗∗
                                                                              0.0536∗               0.0469∗
                                    (0.0619)    (0.0563) (0.0776) (0.0366) (0.0324)                (0.0262)
                                                                                                    {0.052}
                                                                                                   ((0.073))
Magistrate X 3 time periods                         Y            Y           Y            Y            Y
Magistrate X top 5 crimes                                                    Y            Y
Magistrate X crim. history                                                                Y            Y
Magistrate X demographics                                                                 Y            Y
Magistrate X top 17 crimes                                                                             Y
Time controls                           Y           Y            Y           Y            Y            Y
Covariates                                                       Y           Y            Y            Y
Observations                         331971      331971       331971      331971       331971       331971
First stage t-stat.                   15.56       17.59        20.43       33.25        36.75        44.64
Mean indep. var                       0.41        0.41         0.41        0.41         0.41         0.41
Heteroskedastic robust standard errors in parentheses
Empirical p-values in curly brackets
Non-parametric p-values in double parentheses
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
Note: The dependent variable in Panels A and B respectively are dummies for being convicted on at least
   one charge and pleading guilty to at least one charge. The exogenous variables in the first column are the
   eight magistrate dummies; in the subsequent columns they include interactions between the magistrate
   dummies and three time period fixed effects, the five most common crime types, a variety of criminal his-
   tory variables, defendant demographics, and the remainder of the 17 most common crime types. The first
   two columns control only for the time and date of the bail hearing, all subsequent columns include the full
   set of controls for offense, criminal history and demographics as described in Section 5. Empirical p-values
   as derived from a permutation test are shown in curly brackets and parametrically estimated p-values are
   shown in double parentheses. The t-statistic on the first stage of the jackknife IV are shown in the sub-
   panel, as are the means of the independent variables. A linear jackknife instrumental variables regression
   is used. The R2 is not reported due to difficulties of interpreting this statistic in an IV regression.




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                     Table 4: Full sample results - jackknife IV and OLS

                            (1)           (2)             (3)           (4)           (5)           (6)
                          Conv-          Guilty          Court        Incarc-        Max           Min
                          iction          plea           Fees         eration        days          days
Panel A: Full sample (IV)
Pretrial detention 0.0620∗∗             0.0469∗       129.5∗∗∗∗       0.0186         124.7∗      136.4∗∗
                    (0.0291)           (0.0262)        (33.26)      (0.0249)        (74.40)      (62.61)
                    {0.016 }            {0.052}        {0.000}       {0.466}        {0.054}      {0.008}
                    ((0.032))          ((0.073))      ((0.000))     ((0.458))      ((0.095))    ((0.030))
Panel B: Full sample (OLS with full controls)
Pretrial detention 0.0333∗∗∗∗ 0.0566∗∗∗∗ -103.5∗∗∗∗                 0.0976∗∗∗∗     133.7∗∗∗∗    67.78∗∗∗∗
                    (0.00197) (0.00181)      (2.618)                (0.00166)       (3.463)      (2.539)
Panel C: Full sample (OLS only time controls)
Pretrial detention 0.000163 0.106∗∗∗∗ -180.7∗∗∗∗                    0.154∗∗∗∗      480.0∗∗∗∗    281.8∗∗∗∗
                    (0.00176) (0.00156)      (2.078)                (0.00154)       (5.766)      (4.843)
Observations         331971     331971       331971                  331971         331971       331971
First stage t         44.64      44.64        44.64                   44.64          44.64        44.64
Mean dep. var.         0.49      0.26          312                     0.24           292          155
Heteroskedastic robust standard errors in parentheses
Empirical p-values in curly brackets
Non-parametric p-values in double parentheses
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
Note: This table shows how pretrial detention affects various case outcomes using both a jackknife IV
   regression (Panel A), an OLS regression with a full set of controls (Panel B), and an OLS regression
   with only time controls. The outcome variables are dummies for being convicted/pleading guilty, to-
   tal non-bail court fees in dollars, a dummy for whether or not the defendant receives an incarceration
   sentence, the maximum days of that incarceration sentence and the minimum days the defendant must
   serve before being eligible for parole. In all of the IV specifications magistrate preferences are allowed
   to vary across three time periods and according to offense, criminal history and demographics of defen-
   dants. The t-statistic on the first stage of the jackknife IV are shown in the sub-panel, as are the means
   of the dependent variables. All regressions include the full set of controls as described in Section 5.




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                                     Table 5: Robustness checks

Panel A: Instrumenting for public defender (Full sample, IV)
                               (1)         (2)          (3)                     (4)         (5)         (6)
                             Conv-       Guilty       Court                   Incarc-      Max          Min
                             iction       plea         Fees                   eration      days        days
                                   ∗∗          ∗
Pretrial detention          0.0625      0.0470      120.5∗∗∗∗                 0.0230      147.5∗      149.0∗∗
                            (0.0304)    (0.0271)     (33.17)                 (0.0255)     (79.02)     (66.97)
Public defender             0.00339     0.00115       -67.48                  0.0329       169.6       93.54
                            (0.0539)    (0.0481)     (72.23)                 (0.0477)     (197.2)     (170.7)
Panel B: Controlling for public defender (Full sample, IV)
                                 (1)          (2)          (3)                  (4)         (5)      (6)
                              Conv-         Guilty       Court                Incarc-      Max      Min
                               iction        plea         Fees                eration      days     days
                                      ∗∗           ∗∗
Pretrial detention           0.0688        0.0520      126.0∗∗∗∗              0.0246       119.9 131.9∗∗
                             (0.0285)      (0.0257)     (33.18)              (0.0246)     (73.50) (61.78)
                                     ∗∗∗∗         ∗∗∗∗
Public defender            0.0394         0.0292       -36.43∗∗∗∗           0.0421∗∗∗∗     11.65   -4.382
                            (0.00366) (0.00330)         (4.531)             (0.00314)     (10.03) (8.544)
Observations                  331971        331971      331971                331971      331971 331971
Mean dep. var.                  0.49         0.26         312                   0.24        292     155
First stage t on detention     44.64         44.64       44.64                 44.64       44.64   44.64
First stage t on pub. def.     31.08         31.08       31.08                 31.08       31.08   31.08
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
Note: This table presents robustness checks for the main results. Panel A instruments for two endogenous
   variables: a dummy for having a public defender and the pretrial detention dummy. Panel B includes adds
   the controls for having a public defender into the second stage. The outcome variables are dummies for
   being convicted/pleading guilty, total non-bail court fees in dollars, receiving an incarceration sentence,
   the maximum days of that incarceration sentence and the minimum days the defendant must serve before
   being eligible for parole. In all specifications magistrate preferences are allowed to vary across three time
   periods and according to offense, criminal history and demographics of defendants. The t-statistics on the
   instrument for pretrial detention, the t-statistic on the instrument for public defense, and the means of the
   dependent variables are shown in the subpanel. All regressions include the full set of controls as described
   in Section 5.




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                                      Table 6: Impacts on crime

                             (1)            (2)                     (3)        (4)                  (5)
                           Charge     Violent charge           Charge after Charge in            Charge in
                        within 6 mos. within 6 mos.             first year  2nd-3rd yr           4th-5th yr
Panel A: Full sample (IV)
Pretrial detention    -0.129∗∗∗∗              -0.0581∗∗∗∗          -0.0440         -0.0531∗        -0.0290
                       (0.0256)                (0.0146)           (0.0286)         (0.0316)       (0.0355)
Panel B: Full sample (OLS with full controls)
Pretrial detention   -0.0684∗∗∗∗    -0.00547∗∗∗∗                 0.0109∗∗∗∗       0.000959       0.0206∗∗∗∗
                      (0.00166)      (0.000939)                  (0.00194)        (0.00212)      (0.00251)
Observations           331971          331971                     331971           279941         182460
First stage t           44.64           44.64                      44.64            42.12          38.36
Mean dep. var.          0.195           0.049                       .507            0.361          0.293
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: This table shows how pretrial detention affects future crime using both a jackknife IV regression
   (Panel A) and an OLS regression with a full set of controls (Panel B). The outcome variables are dum-
   mies for being charged with a new crime during the six months after the bail hearing, charged with a
   violent crime during the six months after the bail hearing, charged with a new crime at any point after
   the first year after the bail hearing, charged with a new crime within the second or third year after the
   bail hearing, and charged with a new crime in the fourth or fifth year after the bail hearing. In all of the
   IV specifications magistrate preferences are allowed to vary across three time periods and according to of-
   fense, criminal history and demographics of defendants. The t-statistic on the first stage of the jackknife
   IV is shown in the sub-panel, as are the means of the dependent variables. All regressions include the full
   set of controls as described in Section 5.




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                 Table 7: Comparing results for misdemeanors and felonies

                            (1)           (2)             (3)           (4)          (5)         (6)
                          Conv-          Guilty          Court        Incarc-       Max         Min
                          iction          plea           Fees         eration       days        days
Panel A: Misdemeanors (IV)
Pretrial detention 0.0766∗∗             0.0577∗          77.55∗∗     0.0759∗∗∗    55.82∗∗     26.62∗∗
                   (0.0363)             (0.0295)         (38.03)     (0.0281)     (21.95)     (12.09)
Panel B: Misdemeanors (OLS with controls)
Pretrial detention 0.0148∗∗∗∗ 0.0523∗∗∗∗ -15.71∗∗∗∗                  0.0490∗∗∗∗   38.42∗∗∗∗   19.25∗∗∗∗
                   (0.00298) (0.00249)    (3.083)                    (0.00213)     (2.110)     (1.401)
Observations              163236        163236           163236       163236      163236      163236
First stage t              37.91         37.91            37.91        37.91       37.91       37.91
Mean dep. var.             0.50          0.16             $351          0.16         48          18
Mean indep. var.           0.23          0.23             0.23         0.23         0.23        0.23
Panel C: Felonies (IV)
Pretrial detention    0.0513             0.0391         139.3∗∗∗       -0.0257     182.3      207.0∗
                     (0.0434)           (0.0414)        (53.69)       (0.0398)    (139.9)     (119.3)
Panel D: Felonies (OLS with controls)
Pretrial detention 0.0512∗∗∗∗ 0.0589∗∗∗∗                -172.4∗∗∗∗   0.131∗∗∗∗    188.2∗∗∗∗   93.83∗∗∗∗
                    (0.00267) (0.00260)                  (4.016)     (0.00245)     (5.662)     (4.120)
Observations              168735        168735           168735       168735      168735      168735
First stage t              31.91         31.91            31.91        31.91       31.91       31.91
Mean dep. var.             0.47          0.35             $274          0.32        528         288
Mean indep. var.           0.58          0.58             0.58         0.58         0.58        0.58
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: This table shows effect sizes in misdemeanor crimes (Panels A and B) and felonies (Panel C and
   D). The outcome variables are dummies for being convicted/pleading guilty, total non-bail court fees
   in dollars, receiving an incarceration sentence, the maximum days of that incarceration sentence and
   the minimum days the defendant must serve before being eligible for parole. In all IV specifications
   magistrate preferences are allowed to vary across three time periods and according to offense, crim-
   inal history and demographics of defendants. The t-statistic on the first stage of the jackknife IV is
   shown in the sub-panel, as are the means of the dependent and independent variables. All regressions
   include the full set of controls as described in Section 5.




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                 Table 8: Bail differences by race and neighborhood income

Panel A
                                                 (1)          (2)              (5)            (6)
                                           Non-monetary Low bail            Med bail       High bail
Low-income zip                                -0.00104    -0.000258        0.00553∗∗∗     -0.00423∗∗∗
                                             (0.00158)    (0.00164)        (0.00178)       (0.00141)
                                                     ∗∗∗∗
Black                                       -0.00957       0.00275∗         -0.00172      0.00854∗∗∗∗
                                             (0.00140)    (0.00146)        (0.00158)       (0.00125)
Observations                                   295008       295008           295008         295008
Mean dep var                                     .33          .19              .27            .21
R2                                              0.438        0.121            0.202          0.412
Panel B
                                               (1)              (2)           (5)             (6)
                                           Non-monetary       Low bail      Med bail       High bail
Fraction posting, black                        .98              .62           .47             .12
Fraction posting, white/unknown                .99              .69           .56             .22
Fraction posting, low-income zip               .98              .61           .49             .13
Fraction posting, high-income zip              .98              .67           .53             .18
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: The dependent variables in Panel A, from left to right, are a dummy for receiving non-monetary
   bail, bail greater than zero and less than or equal to $2500, bail greater than $2500 and less than or
   equal to $10,000, and bail greater than $10,000. All regressions include extensive controls describing
   the offense, the criminal history, and the age of the defendant, as well as controls for the time and
   date of the bail hearing. Panel B shows the fraction of defendants who post bail in various subsam-
   ples; the subsamples are defined by the columns and rows. For example, Row 1 of Column 2 shows
   the fraction of black defendants with bail set in the “low bail” category (bail greater than zero and
   less than or equal to $2500) who post bail within three days of the bail hearing.




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              Table 9: Socio-economic disparities in pretrial detention rates

Panel A
                                                                       (1)                 (2)
                                                                      Black          White/unknown
Actual detention rates                                                .427                .305
Predicted detention rates, based on white/unknown                     .369                .305
Predicted detention rates, based on blacks                            .427                .357
Panel B
                                                                      (1)                   (2)
                                                                Low-income zip       High-income zip
Actual detention rates                                               .402                  .341
Predicted detention rates, based on high-income zip                  .371                  .341
Predicted detention rates, based on low-income zip                   .401                  .370
Note: The second and third rows of the top panel show the predicted rates of detention, where the pre-
  dictions are built off of the non-black and black sample respectively. For example, the first column of
  the second row shows the predicted rate of detention for black defendants, if black defendants posted
  bail at the same rate as non-black defendants. The second and third rows of the bottom panel show the
  predicted rates of detention, where the predictions are built off of defendants from the highest quintile
  and lowest quintile average income zip codes respectively. Defendants who have some sort of detainer
  that would prevent them from posting bail are removed from the sample.




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                                     Figure 1: Descriptive graphs
                                                         (b) Days detained pretrial, conditional on being
    (a) Magistrate leniency and public defense           detained more than three days
                                                                                          Median Mean




                                                                            3.0e+04
                                                          People detained
                                                                            2.0e+04
                                                                            1.0e+04
                                                                            0
                                                                                      0      100        200        300        400   500   600
                                                                                                              Days detained


              (c) Distribution of bail                                                (d) Bail amounts and detention status




Note: Figure 1a shows the relationship between pretrial detention and having a public defender. Each dot
represents the average per magistrate. Both pretrial detention and public defense have been residualized
against time controls to account for the fact that some magistrates work in different time periods. Figure
1b shows the average number of days detained for those who are detained for more than three days after the
bail hearing. Figure 1c shows the distribution of bail amounts. The x axis shows the number of defendants
who have bail set within each interval. Figure 1d shows the percentage released and detained at a variety
of bail levels among defendants who did not have a detainer placed on them (i.e. were free to leave if they
posted bail).




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          Figure 2: Average detention rates by magistrate for different offense types
                      (a) All cases                                      (b) Robbery




                   (c) DUI, 1st offense                             (d) Aggravated assault




                     (e) Drug selling                                 (f) Drug possession




Note: This figure shows pretrial detention rates by magistrate over the whole sample (Figure 2a), and for
the five most common offense categories (Figures 2b-f). The numbers 1 through 8 delineate the different
magistrates. The y axes show the residuals from a regression of pretrial detention on time controls; each bar
represents the per-magistrate average of the residuals. The error bars indicate the 95% confidence intervals
for the mean. The numbering of the magistrates is consistent across all samples. The bar heights in Figures
2b-f are not expected to sum to the bar heights in Figure 2a, as not all offense categories are shown.




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                                          Figure 3: Visual IV
                        (a) Full sample – conviction rates and pretrial detention
                        are residualized over time controls




                        (b) Full sample – conviction rates and pretrial detention
                        are residualized over time controls, offense, criminal his-
                        tory and demographics




Note: The y and x axes in Figure 3a show the residuals from a regression of a dummy for conviction and
pretrial detention (respectively) on controls for the time and date of the bail hearing. Figure 3b is the
same, except conviction and detention have been residualized over offense, criminal history and demographic
covariates as well as time controls. The circles in Figures 3a-b show the average detention and conviction
residuals for each magistrate.




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                                   Figure 4: Effect sizes by offense
                                                  (a) OLS




                                                  (b) IV




Note: The above coefficient plots show the OLS and IV estimates of the impact pretrial detention has on
conviction rates for different offenses, as labeled on the left. Each dot represents the estimated coefficient
on pretrial detention, the line represents the 95% confidence interval. Murder, 2nd and 3rd degree illegal
firearm charges, and possession of marijuana are left off of the IV plot since their wide confidence intervals
make the other estimates hard to see.




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      Appendix
      A      Randomization test
          For each of 70 covariates describing the offense, criminal history, and demographics
      of the defendant I run the following regression:


          Covi = α + M agistratei ∗ β + T imei ∗ ψ + ei


          I collect and store the F statistic from a test of joint significance on β. I then build
      500 ‘false’ work schedules for the magistrates.34 The false schedules follow parameters
      similar to the real schedules: each magistrate works five days on each shift, there are
      three shifts per day, and each magistrate works only one shift per day. Within these
      constraints, magistrates are randomly assigned to different shifts. With each of the false
      work schedules I regress each covariate on fixed effects for the magistrate predicted to
      work under the false schedule, again controlling for the time and date of the bail hearing.
      I collect and store the F statistic from the false-schedule magistrate fixed effects and use
      these to build an empirical distribution of the F statistic under five-day-per-shift work
      schedules. This F distribution represents the range of F values that are likely to be
      seen under the block randomization that characterizes the magistrates’ work schedules.
      I then compare the F statistic from the real data to the empirical distribution of the F
      statistic. The fraction of false-schedule F statistics which are greater than the real F
      statistic is the empirical p-value. The distribution of the empirical p-values is shown in
      Figure 1A. They are evenly distributed between 0 and 1; if anything, the F statistics
      from the false-schedules are slightly larger, on average, than the F statistic from the
      real data.
          Table 1A shows the real-data F statistics next to the empirical p-values for three
      summary statistics: the predicted likelihood of pretrial detention, the predicted like-
      lihood of pleading guilty, and the predicted likelihood of conviction. Each predicted
      likelihood is the fitted value from a regression of detention, pleading guilty, and con-
      viction (respectively) on all of the rest of the covariates and time controls. In essence,
      they are a weighted average of the covariates that most strongly predict each outcome.
      The empirical p-values suggest that there is no strategic behavior by defendants hoping
      to receive a lenient magistrate.




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     The process is computationally expensive across which is why I only build 500 false-schedules.


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        Figure 1A: Empirical distribution of p-values in permuted randomization test




Note: This figure shows a histogram of ‘empirical p-values’ from a permutation test. The permutation test
involves regressing various covariates on magistrate dummies under false work schedules. The F statistic on
the magistrate dummies using the real data is compared to the distribution of F statistics on false-schedule
magistrate dummies. The empirical p-value is the fraction of the false-schedule F statistics that are greater
than the true-schedule F statistic. The results for 70 covariates plus three summary statistics (the predicted
likelihood of being detained, convicted and pleading guilty) are shown.




                           Table 1A: Permutation test for randomization

      Summary statistics for defendant characteristics             F statistic    Empirical p-value
      Predicted likelihood of pretrial detention                      2.50             0.670
      Predicted likelihood of pleading guilty                         3.29             0.267
      Predicted likelihood of conviction                              2.14             0.554
       Note: The dependent variables in the left column are the predicted values from a regression of
         pretrial detention, pleading guilty, and conviction, respectively, on offense, criminal history,
         demographics and time controls. The middle column shows the F statistics in a test of joint
         significance of eight magistrate dummies. Controls for the time and date of the bail hearing
         are included in each regression. The numerator and denominator degrees of freedom are 7
         and 331,946 respectively. The empirical p-values are the fraction of ‘false’ F statistics larger
         than the true F statistic in a permutation test.




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                                Table 1B: Alternative specifications

Panel A: The impacts of the bail amount on case outcomes (IV)
                          (1)         (2)         (3)        (4)                         (5)        (6)
                        Conv-       Guilty       Court     Incarc-                      Max        Min
                        iction       plea        Fees      eration                      days       days
Bail (in thousands)   0.000532∗    0.000368     0.879∗∗   0.000457∗                    -0.242     -0.319
                     (0.000281) (0.000234)      (0.373)  (0.000254)                   (1.916)    (1.775)
Observations           331971       331971      331971     331971                     331971     331971
Panel B: The impacts of non-monetary release on case outcomes (IV)
                           (1)       (2)          (3)        (4)                        (5)        (6)
                         Conv-     Guilty       Court      Incarc-                     Max         Min
                         iction     plea         Fees      eration                     days       days
                                                     ∗∗∗∗
Non-financial release   -0.0118   -0.00394 -113.1         -0.00408                     38.34      17.82
                       (0.0148)   (0.0131)     (19.72)    (0.0131)                    (26.36)    (21.04)
Observations            331971     331971      331971      331971                     331971     331971
Panel C: Controlling for phone call-ins (IV)
                            (1)          (2)                 (3)            (4)         (5)     (6)
                         Conv-         Guilty              Court          Incarc-      Max      Min
                          iction        plea                Fees          eration      days    days
Phone call-ins          -0.00840       0.0109             -18.41∗       -0.0163∗∗      5.470   21.35
                        (0.0114)     (0.00949)            (10.78)       (0.00828)     (17.61) (14.49)
Pretrial detention       0.0524       0.0594∗∗            108.5∗∗∗     -0.0000721      131.0 160.8∗∗
                        (0.0325)      (0.0291)            (37.51)        (0.0276)     (86.19) (72.40)
Observations             331971        331971             331971          331971      331971 331971
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: Panel A estimates the impact of the bail amount (in thousands of dollars) on case outcomes.
   Panel B estimates the impact of non-financial release on case outcomes. Panel C instruments for two
   endogenous variables: pretrial detention and a dummy which is equal to one if the defendant is given
   a non-monetary release with the condition of needing to make weekly or bi-weekly phone calls to an
   automated voice system. The outcome variables are dummies for being convicted/pleading guilty, total
   non-bail court fees in dollars, receiving an incarceration sentence, the maximum days of that incarcer-
   ation sentence and the minimum days the defendant must serve before being eligible for parole. In all
   specifications magistrate preferences are allowed to vary across three time periods and according to of-
   fense, criminal history and demographics of defendants. All regressions include the full set of controls
   as described in Section 5.




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                      Table 1C: Comparing results across defendant race

                            (1)           (2)              (3)          (4)            (5)          (6)
                          Conv-          Guilty           Court       Incarc-         Max          Min
                          iction          plea            Fees        eration         days         days
Panel A: White defendants (IV)
Pretrial detention  0.0802      0.0223                    88.64       -0.0285        195.8       236.4∗∗
                   (0.0590)    (0.0549)                  (75.38)     (0.0532)       (135.4)      (109.8)
Panel B: White defendants (OLS with controls)
Pretrial detention 0.0355∗∗∗∗ 0.0505∗∗∗∗ -115.9∗∗∗∗                 0.102∗∗∗∗      147.1∗∗∗∗    74.99∗∗∗∗
                   (0.00371) (0.00351)    (5.315)                   (0.00334)       (6.037)      (4.019)
Observations         94076      94076      94076                      94076          94076        94076
Mean dep. var.        0.55       0.29       $361                       0.27           254          124
Panel C: Black defendants (IV)
Pretrial detention  0.0664∗     0.0204                   113.8∗∗∗    -0.00911        53.83        107.0
                    (0.0392)   (0.0353)                  (44.05)     (0.0338)       (112.6)      (95.66)
Panel D: Black defendants (OLS with controls)
Pretrial detention 0.0393∗∗∗∗ 0.0599∗∗∗∗ -99.68∗∗∗∗                 0.0964∗∗∗∗     132.0∗∗∗∗    66.45∗∗∗∗
                   (0.00258) (0.00234)     (3.337)                  (0.00216)       (4.718)      (3.520)
Observations        191379     191379      191379                    191379         191378       191378
Mean dep. var.        0.49       0.25       $296                       0.25           357          196
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: This table shows effect sizes among white defendants (Panels A and B) and black defendants
   (Panels C and D). The outcome variables are dummies for being convicted/pleading guilty, total non-
   bail court fees in dollars, a dummy for whether or not the defendant receives an incarceration sentence,
   the maximum days of that incarceration sentence and the minimum days the defendant must serve be-
   fore being eligible for parole. In all of the IV specifications magistrate preferences are allowed to vary
   across three time periods and according to offense, criminal history and demographics of defendants.




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                      Table 1D: Comparing results across defendant age

                            (1)           (2)             (3)           (4)            (5)          (6)
                          Conv-          Guilty          Court        Incarc-         Max          Min
                          iction          plea           Fees         eration         days         days
Panel A: Defendants under 30 (IV)
Pretrial detention  0.0359      0.0608                    82.73      -0.00439        264.3        245.3
                   (0.0636)    (0.0578)                  (76.43)     (0.0556)       (209.4)      (182.4)
Panel B: Defendants under 30 (OLS with controls)
Pretrial detention 0.0362∗∗∗∗ 0.0551∗∗∗∗ -120.3∗∗∗∗                 0.0990∗∗∗∗     139.4∗∗∗∗    69.39∗∗∗∗
                   (0.00281) (0.00259)    (3.817)                   (0.00239)       (5.401)      (4.155)
Observations        167586     167586     167586                     167586         167585       167585
Mean dep. var.        0.47       0.27      $304                        0.24           348          193
Panel C: Defendants over 30 (IV)
Pretrial detention 0.0716∗∗      0.0521                 179.0∗∗∗∗     0.0217         28.99        57.72
                   (0.0358)    (0.0324)                  (40.79)     (0.0306)       (76.78)      (62.86)
Panel D: Defendants over 30 (OLS with controls)
Pretrial detention 0.0322∗∗∗∗ 0.0585∗∗∗∗ -84.30∗∗∗∗                 0.0948∗∗∗∗     126.6∗∗∗∗    67.27∗∗∗∗
                   (0.00278) (0.00254)     (3.600)                  (0.00233)       (4.272)      (2.833)
Observations        164356     164356      164356                    164356         164355       164355
Mean dep. var.        0.51       0.25       $320                       0.24           235          117
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
Note: This table shows effect sizes among defendants under 30 (Panels A and B) and defendants over 30
   (Panels C and D). The outcome variables are dummies for being convicted/pleading guilty, total non-
   bail court fees in dollars, a dummy for whether or not the defendant receives an incarceration sentence,
   the maximum days of that incarceration sentence and the minimum days the defendant must serve be-
   fore being eligible for parole. In all of the IV specifications magistrate preferences are allowed to vary
   across three time periods and according to offense, criminal history and demographics of defendants.




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              Table 1E: Comparing results across defendants’ history of arrest

                            (1)           (2)            (3)        (4)           (5)          (6)
                          Conv-          Guilty         Court     Incarc-        Max          Min
                          iction          plea          Fees      eration        days         days
Panel A: Defendants with zero or one prior arrests (IV)
Pretrial detention   0.118       0.0916      40.44      -0.123∗∗                169.7        245.2
                   (0.0788)     (0.0727)    (105.1)     (0.0624)               (213.0)      (173.5)
Panel B: Defendants with zero or one prior arrests (OLS with controls)
Pretrial detention 0.0192∗∗∗∗ 0.0470∗∗∗∗ -103.9∗∗∗∗ 0.0837∗∗∗∗ 136.5∗∗∗∗                   72.49∗∗∗∗
                   (0.00338) (0.00311)       (4.637)   (0.00259) (5.494)                    (3.896)
Observations        124344      124344       124344     124344     124342                   124342
Mean dep. var.        0.42        0.24        $320        0.17       200                      107
Panel F: Defendants with two or more prior arrests (IV)
Pretrial detention 0.0625∗∗     0.0445     151.8∗∗∗∗    0.0721∗∗               183.6∗∗      181.8∗∗∗
                    (0.0317)   (0.0284)     (35.15)     (0.0284)               (78.48)      (66.94)
Panel G: Defendants with two or more prior arrests (OLS with controls)
Pretrial detention 0.0450∗∗∗∗ 0.0551∗∗∗∗ -100.8∗∗∗∗ 0.101∗∗∗∗ 131.9∗∗∗∗                    66.81∗∗∗∗
                   (0.00244) (0.00224)     (3.217)    (0.00216) (4.302)                     (3.145)
Observations        207627      207627     207627      207627     207627                    207627
Mean dep. var.        0.53       0.27        $307        0.28       347                       184
Standard errors in parentheses
Heteroskedastic-Robust Standard Errors
∗
  p < 0.10, ∗∗ p < 0.05, ∗∗∗ p < 0.01, ∗∗∗∗ p < 0.001
 Note: This table shows effect sizes among defendants with zero or one prior arrests (Panels A and B)
   and defendants with two or more prior arrests (Panels C and D). The outcome variables are dum-
   mies for being convicted/pleading guilty, total non-bail court fees in dollars, a dummy for whether
   or not the defendant receives an incarceration sentence, the maximum days of that incarceration sen-
   tence and the minimum days the defendant must serve before being eligible for parole. In all of the
   IV specifications magistrate preferences are allowed to vary across three time periods and according
   to offense, criminal history and demographics of defendants.




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